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   GLOBAL NOTES AND STATEMENT OF LIMITATIONS, METHODOLOGY, AND
     DISCLAIMER REGARDING DEBTOR’S SCHEDULES AND STATEMENTS

        The Schedules of Assets and Liabilities (the “Schedules”) and Statement of Financial
Affairs (the “SOFA” and together with the Schedules, the “Bankruptcy Schedules”) of Shift Pixy,
Inc. (the “Debtor”), have been prepared pursuant to section 521 of title 11 of the United States
Code (the “Bankruptcy Code”) and Rule 1007 of the Federal Rules of Bankruptcy Procedure by
the Debtor under the direction of its Chief Restructuring Officer, Jonathan Feldman (the “CRO”)
and are unaudited. These Global Notes and Statement of Limitations, Methodology, and
Disclaimer Regarding Debtor’s Schedules and Statements (the “Global Notes”) comprise an
integral part of the Bankruptcy Schedules and should be referred to and considered in connection
with any review of them.

The information provided herein, except as otherwise noted, is as of the close of business on
October 27, 2024, the last date prior to October 28, 2024, the date of filing of the Debtor’s
bankruptcy case (the “Petition Date”) on which financial information was available. Although the
Debtor has made reasonable efforts to ensure that the Bankruptcy Schedules are as complete and
accurate as possible in light of the circumstances, there can be no assurance that these Bankruptcy
Schedules are, in fact, complete or accurate.

None of the Debtor, the CRO, nor the attorneys for the Debtor guarantees or warrants the accuracy,
completeness, or currentness of the data that is provided herein and shall not be liable for any loss
or injury arising out of or caused in whole or in part by the acts, errors, or omissions, whether
negligent or otherwise, in procuring, compiling, collecting, interpreting, reporting, communicating
or delivering the information contained herein. While every effort has been made to provide
accurate and complete information herein, inadvertent errors or omissions may exist.

            Specific Disclosures with Respect to the Debtor’s Schedules Schedule

SCHEDULE E/F Part 1. The Debtor has used reasonable best effort to report all priority employee
wage claims against the Debtor on Schedule E/F Part 1 based on the Debtor’s existing books and
records as of the Petition Date. The employee wage claims include amounts reported due for both
deferred compensation and PTO. In certain instances, the Debtor’s records have not been updated
and reconciled to confirm the actual amounts due, primarily as it relates to deferred compensation.
Although reasonable efforts have been made to reconcile the employee wage claim amounts,
determining the exact amounts due prior to filing the schedules would be unduly burdensome and
cost prohibitive and, therefore, the Debtor has listed the amounts reflected in readily available
records as disputed and reserved the right to amend or correct its schedules once reconciliations
can be made.

E/F Part 2. The Debtor has used reasonable best efforts to report all general unsecured Claims
against the Debtor on Schedule E/F Part 2 based upon the Debtor’s existing books and records as
of the Petition Date. The Claims listed on Schedule E/F Part 2 arose or were incurred on various
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dates. In certain instances, the date on which a Claim arose is an open issue of fact. Although
reasonable efforts have been made to identify the date of incurrence of each Claim, determining
the date upon which each Claim on Schedule E/F Part 2 was incurred or arose would be unduly
burdensome and cost prohibitive and, therefore, the Debtors may not have listed a date for each
Claim listed on Schedule E/F Part 2. As a general matter, the date of incurrence of each Claim was
listed as the most recent invoice date, if available. Schedule E/F Part 2 contains information
regarding pending litigation involving the Debtor. The dollar amount of potential Claims
associated with any such pending litigation is listed as “undetermined” and marked as contingent,
unliquidated and disputed in the Schedules and Statement. The Debtor expressly incorporates by
reference into Schedule E/F Part 2 all parties to pending litigation listed in Statement 7 as
contingent, unliquidated and disputed claims, to the extent not already listed on Schedule E/F Part
2.

SCHEDULE G. The listing of any contract on Schedule G does not constitute an admission by
the Debtor as to the validity of any such contract or that such contract is an executory contract or
unexpired lease. The Debtor reserves all of its rights to dispute the effectiveness of any such
contract listed on Schedule G or to amend Schedule G at any time to remove any contract. Listing
a contract or agreement on Schedule G does not constitute an admission that such contract or
agreement is an executory contract or unexpired lease or that such contract or agreement was in
effect on the Petition Date or is valid or enforceable. The Debtor hereby reserves all of its rights
to dispute the validity, status or enforceability of any contracts, agreements or leases set forth on
Schedule G and to amend or supplement Schedule G as necessary.
        The Debtor reserves all rights to amend the Bankruptcy Schedules, in all respects, as may
be necessary or appropriate, including, but not limited to, the right to dispute or to assert offsets or
defenses to any claim reflected on the Bankruptcy Schedules as to amount, liability or
classification, or to otherwise subsequently designate any claim as “disputed,” “contingent” or
“unliquidated.” Any failure to designate a claim as “contingent,” “unliquidated,” or “disputed”
does not constitute an admission by the Debtor that such claim is not “contingent,” “unliquidated,”
or “disputed.”

       Specific Disclosures with Respect to the Debtor’s Statements
Statement 7. Information provided in Statement 7 includes only those legal disputes and
administrative proceedings that are formally recognized by an administrative, judicial or other
adjudicative forum. Additionally, any information contained in Statement 7 shall not be a binding
representation of the Debtor’s liabilities with respect to any of the suits and proceedings identified
therein.
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                    Attachment 1
 Schedule for Retainers and Deposits
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ShiftPixy, Inc.
Reconciliation - Deposits
Account 1805 and 1807

                                                                    Balance @
                     Description                          Entity
                                                                     8/31/24
Security Deposit:
Courvoisier Center LLC - Miami, FL - Suite                SPX-100           -
Runway 1 LLC - Miami, FL - Studio - Dec 2025              SPX-100     59.939,35
Olen Commercial Realty Corp - Suite 150 - June 27         SPX-100           -
Olen Commercial Realty Corp - Suite 220                   SPX-100         (0,00)
Olen Commercial Realty Corp - Suite 250                   SPX-100           -
AmWINS Policy Deposit                                     SPX-100     93.000,00
Verifone Inc. - Brickell Rent Ste. 205                    SPX-100           -
Sawgrass LLC - Sunrise, FL - Suite 650 - Dec 2028         SPX-100           -
                               Total Security Deposits:              152.939,35
                                                                     152.939,35
                                                                            -
Retainers:
Olen Commercial Realty Corp - Suite 150 - June 27                       15.952,30
Sawgrass LLC - Sunrise, FL - Suite 650 - Dec 2028                       23.330,71
Huggins Actuarial Services Inc                           SPX-100              -
JAMS: Mediation -- Everset                               SPX-100              -
Kadima - Ankura                                          SPX-100              -
Kadima - Osborn Maledon                                  SPX-100              -
Klein, O'Neill & Singh - Shiftwork Platform aka KOS IP Law
                                                         SPX-100
                                                           LLP: Patent work -
Klein & Wilson: GOLDEN WEST WINGS                        SPX-100              -
Lanza & Smith - Radaro Litigation                        SPX-100              -
Marcum - Auditors                                        SPX-100              -
Mintz - General Corporate Matters                        SPX-100              -
CK Administrative Services LLC                                          13.706,25
Argent Institutional Trust Co - Human Bees escrow                      100.000,00
Bast Amron LLP                                                                -
Bentley Goodrich Kison - SUNZ                                                 -
BCC Advisors - Human Bees                                                     -
BCC Advisors - Nexeo                                                          -
Bogin Munns & Munns                                                           -
Call & Jensen                                            SPX-100        75.000,00
Donohoe Advisory Assoc                                                     780,00
Dunham Capital Corporation                                                    -
FREEMAN & MILLS: Fisher Phillips expert for Certified Tires
                                                         SPX-100        10.000,00
FROST LAW: IRS                                           SPX-100         4.042,50
ICR LLC - Investor/Public Relations                      SPX-100              -
ipCapital Group-Invention Development                                         -
IRTH Communication - Investor/Public Relations           SPX-100        10.000,00
J David Tax Law LLC - WA State tax issue                                21.000,00
KARLINSKY LLC: LORI HOWARD                                              25.000,00
Lanza & Smith: trial deposit                             SPX-100              -
Larry J Lichtenegger                                                       620,00
Levinson Arshonsky Kurtz & Komsky LLP                                    9.747,51
Lydecker LLP                                                            10.000,00
Maleki & Associates - BairesDev                                               -
Maleki & Associates - Corral America                                    11.705,05
Maleki & Associates - Waba Grill                                              -
Marquis Aurbach Chtd                                     SPX-100              -
Martin Silver P.S.                                                            -
McCarter & English, LLP                                                 25.000,00
MDR Development Corp - $375m Financing                                 204.500,00
Meadows Collier - IRS Trust Fund                                        15.000,00
Morris, Nichols, Arsht & Tunnell LLP                     SPX-100              -
Navarro Hernandez PL: Brickell Office issue                                   -
Navarro Hernandez PL: Sawgrass Office issue                                   -
Now CFO Newport Beach                                    SPX-100              -
Payne & Fears LLP: Engagement CAPO CATERING                              1.678,60
Payne & Fears LLP: Engagement Golden West Wings                               -
Payne & Fears LLP: Engt Rosas/Arias/Marin                               12.643,00
Premier Workspaces - temp office CA                                        820,00
Rose, Snyder & Jacobs LLP - Human Bees                                        -
Shulman Bastian Fredman & Bui LLP                        SPX-100        14.423,57
Shraiberg Page PA                                                       15.000,00
Trenan Law - IHC                                                        20.000,00
Wilson Sonsini Goodrich & Rosati                                        25.000,00
Pillsbury Winthrop Shaw Pittman LLP                                     25.000,00
Slavic 401K                                              SPX-100              -
ST/LT RECLASS                                            SPX-100              -
                                       Total Retainers:                689.949,49
                                                                       689.949,49
                                                                              -
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                      Attachment 2
Schedule for Prepaid Expenses of Services,
     Security, Insurance, and Others
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                                       Prepaid Expenses
                                          30/09/2024                                            Debit             Credit



1300 - Prepaid Expenses
                                                                    Opening Balance 9-1-2024                                    181.687,26

Net Activity Q1 2025 - 11-30-2024                                                                    77.376,68      46.844,22   212.219,72

Net Activity Q2 2025 - 2-28-2025                                                                           -               -    212.219,72

Net Activity Q3 2025 - 5-31-2025                                                                           -               -    212.219,72

Net Activity Q4 2025 - 8-31-2025                                                                           -               -    212.219,72

                                        1300-Prepaid Expense - FYE Ending Balance 8-31-2025          77.376,68      46.844,22   212.219,72
                                                                              Variance to TB               -              -            -

                                    Summary Account Details




                                                                                                                           -
                                                                                                                           -

                                        1300-Prepaid Expense - FYE Ending Balance 8-31-2025                                            -
                                                                              Variance to TB                                           -



1302 - Prepaid Insurance
                                                                    Opening Balance 9-1-2024                                    515.256,39

Net Activity Q1 2025 - 11-30-2024                                                                          -        50.107,64   465.148,75

Net Activity Q2 2025 - 2-28-2025                                                                           -               -    465.148,75

Net Activity Q3 2025 - 5-31-2025                                                                           -               -    465.148,75

Net Activity Q4 2025 - 8-31-2025                                                                           -               -    465.148,75

                                       1302-Prepaid Insurance - FYE Ending Balance 8-31-2025               -        50.107,64   465.148,75
                                                                               Variance to TB              -              -            -

                                    Summary Account Details




                                                                                                                           -
                                                                                                                           -

                                       1302-Prepaid Insurance - FYE Ending Balance 8-31-2025                                           -
                                                                               Variance to TB                                          -
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                    Attachment 3
   Schedule for Accounts Receivable
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Company name:         ShiftPixy, Inc.
Report name:          Customer aging report
As of date:           31/10/2024
Created on:           18/11/2024


Customer name         Due
                        Days
                          date
                             aged          -0       1-30        31-60          61-90      91-120           121-      Total
SHIFTPIXY STAFFING,             545      0,00        0,00        0,00            0,00        0,00      296,78      296,78
INC.
                                538      0,00        0,00        0,00            0,00        0,00      362,75      362,75
                                531      0,00        0,00        0,00            0,00        0,00      301,41      301,41
                                457      0,00        0,00        0,00            0,00        0,00      347,24      347,24
                                         0,00       0,00         0,00           0,00         0,00    1.308,18     1.308,18


VENSLEYDONSHULA                 524      0,00        0,00         0,00           0,00        0,00      419,74      419,74

                                517      0,00        0,00        0,00            0,00        0,00      375,13      375,13
                                510      0,00        0,00        0,00            0,00        0,00      272,77      272,77
                                503      0,00        0,00        0,00            0,00        0,00      288,66      288,66
                                496      0,00        0,00        0,00            0,00        0,00      238,59      238,59
                                489      0,00        0,00        0,00            0,00        0,00      227,34      227,34
                                         0,00       0,00         0,00           0,00         0,00    1.822,23     1.822,23


NILFISK                          13      0,00    3.200,05         0,00           0,00        0,00          0,00   3.200,05
                                   6     0,00    2.924,22         0,00           0,00        0,00          0,00   2.924,22
                                         0,00    6.124,27        0,00           0,00         0,00          0,00   6.124,27


AIMRECYCLE                       83      0,00        0,00         0,00          70,95        0,00          0,00     70,95
                                         0,00       0,00         0,00          70,95         0,00          0,00     70,95


POOLCORP                         34      0,00        0,00      856,35            0,00        0,00          0,00    856,35
                                 34      0,00        0,00     1.349,82           0,00        0,00          0,00   1.349,82
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             27     0,00      827,98        0,00           0,00        0,00          0,00     827,98
             27     0,00      474,63        0,00           0,00        0,00          0,00     474,63
             20     0,00      856,03        0,00           0,00        0,00          0,00     856,03
             13     0,00      836,24        0,00           0,00        0,00          0,00     836,24
              6     0,00      858,20        0,00           0,00        0,00          0,00     858,20
                    0,00    3.853,08    2.206,17          0,00         0,00          0,00    6.059,25


LIONSFLOOR   41     0,00        0,00      598,90           0,00        0,00          0,00     598,90
             27     0,00    2.913,45        0,00           0,00        0,00          0,00    2.913,45
             27     0,00      963,59        0,00           0,00        0,00          0,00     963,59
             20     0,00    3.384,24        0,00           0,00        0,00          0,00    3.384,24
             20     0,00    1.002,70        0,00           0,00        0,00          0,00    1.002,70
             20     0,00      976,03        0,00           0,00        0,00          0,00     976,03
             13     0,00    3.345,52        0,00           0,00        0,00          0,00    3.345,52
             13     0,00    4.439,32        0,00           0,00        0,00          0,00    4.439,32
             13     0,00      952,25        0,00           0,00        0,00          0,00     952,25
              6     0,00    3.519,57        0,00           0,00        0,00          0,00    3.519,57
              6     0,00    3.863,59        0,00           0,00        0,00          0,00    3.863,59
              6     0,00      928,86        0,00           0,00        0,00          0,00     928,86
                    0,00   26.289,12     598,90           0,00         0,00          0,00   26.888,02


SEEDMIAMI    20     0,00    1.365,49        0,00           0,00        0,00          0,00    1.365,49
             13     0,00      858,28        0,00           0,00        0,00          0,00     858,28
              6     0,00    2.407,05        0,00           0,00        0,00          0,00    2.407,05
                    0,00    4.630,82       0,00           0,00         0,00          0,00    4.630,82


PACTIV       76     0,00        0,00        0,00         804,10        0,00          0,00     804,10
             76     0,00        0,00        0,00       1.463,35        0,00          0,00    1.463,35
             34     0,00        0,00       56,59           0,00        0,00          0,00      56,59
             34     0,00        0,00      280,95           0,00        0,00          0,00     280,95
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                   27     0,00    17.767,37         0,00           0,00        0,00          0,00    17.767,37
                   27     0,00     5.424,84         0,00           0,00        0,00          0,00     5.424,84
                   27     0,00     4.216,07         0,00           0,00        0,00          0,00     4.216,07
                   20     0,00    15.110,68         0,00           0,00        0,00          0,00    15.110,68
                   20     0,00     6.540,43         0,00           0,00        0,00          0,00     6.540,43
                   20     0,00     4.444,06         0,00           0,00        0,00          0,00     4.444,06
                   20     0,00        77,06         0,00           0,00        0,00          0,00        77,06
                   13     0,00    23.175,99         0,00           0,00        0,00          0,00    23.175,99
                   13     0,00     4.966,00         0,00           0,00        0,00          0,00     4.966,00
                   13     0,00     4.819,07         0,00           0,00        0,00          0,00     4.819,07
                    6     0,00    24.704,04         0,00           0,00        0,00          0,00    24.704,04
                    6     0,00     6.952,09         0,00           0,00        0,00          0,00     6.952,09
                    6     0,00     4.557,50         0,00           0,00        0,00          0,00     4.557,50
                          0,00   122.755,20      337,54        2.267,45        0,00          0,00   125.360,19


KOSE CORPORATION   34     0,00         0,00     1.900,30           0,00        0,00          0,00     1.900,30

                   20     0,00     2.142,30         0,00           0,00        0,00          0,00     2.142,30
                   20     0,00     2.463,75         0,00           0,00        0,00          0,00     2.463,75
                   13     0,00     3.840,68         0,00           0,00        0,00          0,00     3.840,68
                    6     0,00     6.798,62         0,00           0,00        0,00          0,00     6.798,62
                          0,00    15.245,35    1.900,30           0,00         0,00          0,00    17.145,65


GL STRATEGIC       55     0,00         0,00      566,83            0,00        0,00          0,00      566,83
STAFFING, INC
                   48     0,00         0,00      705,20            0,00        0,00          0,00      705,20
                   41     0,00         0,00     1.054,22           0,00        0,00          0,00     1.054,22
                   34     0,00         0,00     1.129,35           0,00        0,00          0,00     1.129,35
                   27     0,00       403,20         0,00           0,00        0,00          0,00      403,20
                          0,00      403,20     3.455,60           0,00         0,00          0,00     3.858,80
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Bond No. 9             13     0,00    112.984,91        0,00           0,00        0,00          0,00   112.984,91
                       13     0,00   114.153,48         0,00           0,00        0,00          0,00   114.153,48
                       13     0,00     18.865,57        0,00           0,00        0,00          0,00    18.865,57
                       13     0,00       629,26         0,00           0,00        0,00          0,00      629,26
                       13     0,00       424,23         0,00           0,00        0,00          0,00      424,23
                        6     0,00     30.403,89        0,00           0,00        0,00          0,00    30.403,89
                        6     0,00     59.697,10        0,00           0,00        0,00          0,00    59.697,10
                        6     0,00      9.137,50        0,00           0,00        0,00          0,00     9.137,50
                        6     0,00       911,50         0,00           0,00        0,00          0,00      911,50
                              0,00   347.207,44        0,00           0,00         0,00          0,00   347.207,44


Century Trade Show      6     0,00       120,85         0,00           0,00        0,00          0,00      120,85
Services, LLC

                              0,00       120,85        0,00           0,00         0,00          0,00      120,85


Quelliv, Inc.        1168     0,00          0,00        0,00           0,00        0,00     1.743,89      1.743,89
                     1163     0,00          0,00        0,00           0,00        0,00      732,35        732,35
                     1161     0,00          0,00        0,00           0,00        0,00     1.737,97      1.737,97
                     1154     0,00          0,00        0,00           0,00        0,00     1.833,48      1.833,48
                     1147     0,00          0,00        0,00           0,00        0,00     2.176,81      2.176,81
                     1140     0,00          0,00        0,00           0,00        0,00     1.946,43      1.946,43
                     1133     0,00          0,00        0,00           0,00        0,00     2.243,77      2.243,77
                     1126     0,00          0,00        0,00           0,00        0,00     2.159,06      2.159,06
                     1121     0,00          0,00        0,00           0,00        0,00     3.529,62      3.529,62
                     1121     0,00          0,00        0,00           0,00        0,00     4.455,09      4.455,09
                     1121     0,00          0,00        0,00           0,00        0,00     5.005,48      5.005,48
                     1121     0,00          0,00        0,00           0,00        0,00     5.787,66      5.787,66
                     1121     0,00          0,00        0,00           0,00        0,00     9.253,83      9.253,83
                     1121     0,00          0,00        0,00           0,00        0,00     9.835,95      9.835,95
                     1121     0,00          0,00        0,00           0,00        0,00     4.467,28      4.467,28
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1119     0,00       0,00        0,00           0,00        0,00     2.139,53   2.139,53
1112     0,00       0,00        0,00           0,00        0,00     2.166,73   2.166,73
1105     0,00       0,00        0,00           0,00        0,00     2.599,37   2.599,37
1098     0,00       0,00        0,00           0,00        0,00     2.379,34   2.379,34
1091     0,00       0,00        0,00           0,00        0,00     2.508,17   2.508,17
1084     0,00       0,00        0,00           0,00        0,00      935,98     935,98
1079     0,00       0,00        0,00           0,00        0,00     1.615,00   1.615,00
 363     0,00       0,00        0,00           0,00        0,00     4.611,50   4.611,50
 349     0,00       0,00        0,00           0,00        0,00     4.315,32   4.315,32
 342     0,00       0,00        0,00           0,00        0,00     3.311,03   3.311,03
 335     0,00       0,00        0,00           0,00        0,00     2.302,99   2.302,99
 328     0,00       0,00        0,00           0,00        0,00     3.905,11   3.905,11
 321     0,00       0,00        0,00           0,00        0,00     3.817,85   3.817,85
 314     0,00       0,00        0,00           0,00        0,00     4.205,33   4.205,33
 307     0,00       0,00        0,00           0,00        0,00     4.430,82   4.430,82
 300     0,00       0,00        0,00           0,00        0,00     3.169,37   3.169,37
 293     0,00       0,00        0,00           0,00        0,00     2.649,89   2.649,89
 286     0,00       0,00        0,00           0,00        0,00     3.944,65   3.944,65
 279     0,00       0,00        0,00           0,00        0,00     4.135,91   4.135,91
 272     0,00       0,00        0,00           0,00        0,00     4.112,66   4.112,66
 265     0,00       0,00        0,00           0,00        0,00     3.616,16   3.616,16
 258     0,00       0,00        0,00           0,00        0,00     4.241,49   4.241,49
 251     0,00       0,00        0,00           0,00        0,00     2.888,70   2.888,70
 244     0,00       0,00        0,00           0,00        0,00     4.313,16   4.313,16
 237     0,00       0,00        0,00           0,00        0,00     3.846,27   3.846,27
 230     0,00       0,00        0,00           0,00        0,00     4.276,06   4.276,06
 223     0,00       0,00        0,00           0,00        0,00     4.314,88   4.314,88
 216     0,00       0,00        0,00           0,00        0,00     4.284,74   4.284,74
 209     0,00       0,00        0,00           0,00        0,00     3.599,93   3.599,93
 202     0,00       0,00        0,00           0,00        0,00     4.256,89   4.256,89
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                195      0,00        0,00        0,00            0,00          0,00     4.214,84     4.214,84
                188      0,00        0,00        0,00            0,00          0,00     4.242,97     4.242,97
                181      0,00        0,00        0,00            0,00          0,00     4.830,28     4.830,28
                174      0,00        0,00        0,00            0,00          0,00     4.225,55     4.225,55
                167      0,00        0,00        0,00            0,00          0,00     4.806,16     4.806,16
                160      0,00        0,00        0,00            0,00          0,00     4.563,02     4.563,02
                153      0,00        0,00        0,00            0,00          0,00     4.247,27     4.247,27
                146      0,00        0,00        0,00            0,00          0,00     3.140,29     3.140,29
                139      0,00        0,00        0,00            0,00          0,00     3.795,48     3.795,48
                132      0,00        0,00        0,00            0,00          0,00     3.038,73     3.038,73
                125      0,00        0,00        0,00            0,00          0,00     3.087,77     3.087,77
                118      0,00        0,00        0,00            0,00      3.166,92         0,00     3.166,92
                111      0,00        0,00        0,00            0,00      2.927,61         0,00     2.927,61
                104      0,00        0,00        0,00            0,00      3.976,29         0,00     3.976,29
                 90      0,00        0,00         0,00       3.869,21          0,00         0,00     3.869,21
                 83      0,00        0,00         0,00       3.924,31          0,00         0,00     3.924,31
                 76      0,00        0,00         0,00       3.736,88          0,00         0,00     3.736,88
                 69      0,00        0,00         0,00       3.866,32          0,00         0,00     3.866,32
                 62      0,00        0,00         0,00       3.778,36          0,00         0,00     3.778,36
                 55      0,00        0,00     3.885,46           0,00          0,00         0,00     3.885,46
                 48      0,00        0,00     2.520,75           0,00          0,00         0,00     2.520,75
                 41      0,00        0,00     2.239,30           0,00          0,00         0,00     2.239,30
                 34      0,00        0,00     3.147,83           0,00          0,00         0,00     3.147,83
                 27      0,00    2.678,04         0,00           0,00          0,00         0,00     2.678,04
                 20      0,00    3.150,14         0,00           0,00          0,00         0,00     3.150,14
                 13      0,00    2.056,51         0,00           0,00          0,00         0,00     2.056,51
                  6      0,00    3.389,84         0,00           0,00          0,00         0,00     3.389,84
                         0,00   11.274,53   11.793,34       19.175,08     10.070,82   203.995,86   256.309,63


Quelliv (RTK)   1052     0,00        0,00         0,00           0,00          0,00    45.863,04    45.863,04
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514     0,00       0,00         0,00           0,00          0,00   43.898,69   43.898,69
499     0,00       0,00         0,00           0,00          0,00   22.610,65   22.610,65
363     0,00       0,00         0,00           0,00          0,00   22.215,49   22.215,49
346     0,00       0,00         0,00           0,00          0,00   22.948,80   22.948,80
331     0,00       0,00         0,00           0,00          0,00   21.947,02   21.947,02
316     0,00       0,00         0,00           0,00          0,00   19.651,52   19.651,52
300     0,00       0,00         0,00           0,00          0,00   19.723,71   19.723,71
286     0,00       0,00         0,00           0,00          0,00   19.952,55   19.952,55
279     0,00       0,00         0,00           0,00          0,00    3.451,91    3.451,91
269     0,00       0,00         0,00           0,00          0,00   20.394,01   20.394,01
254     0,00       0,00         0,00           0,00          0,00   23.608,34   23.608,34
239     0,00       0,00         0,00           0,00          0,00   19.631,50   19.631,50
225     0,00       0,00         0,00           0,00          0,00   14.769,85   14.769,85
209     0,00       0,00         0,00           0,00          0,00   12.474,55   12.474,55
195     0,00       0,00         0,00           0,00          0,00   12.426,50   12.426,50
195     0,00       0,00         0,00           0,00          0,00    3.324,90    3.324,90
181     0,00       0,00         0,00           0,00          0,00   23.008,47   23.008,47
148     0,00       0,00         0,00           0,00          0,00   12.796,58   12.796,58
133     0,00       0,00         0,00           0,00          0,00   12.487,09   12.487,09
118     0,00       0,00         0,00           0,00     12.629,75        0,00   12.629,75
104     0,00       0,00         0,00           0,00     12.975,34        0,00   12.975,34
 90     0,00       0,00         0,00         625,25          0,00        0,00     625,25
 87     0,00       0,00         0,00      12.995,51          0,00        0,00   12.995,51
 83     0,00       0,00         0,00         646,11          0,00        0,00     646,11
 76     0,00       0,00         0,00         583,58          0,00        0,00     583,58
 72     0,00       0,00         0,00      10.776,72          0,00        0,00   10.776,72
 69     0,00       0,00         0,00         646,11          0,00        0,00     646,11
 62     0,00       0,00         0,00         583,57          0,00        0,00     583,57
 56     0,00       0,00    11.483,45           0,00          0,00        0,00   11.483,45
 55     0,00       0,00      738,86            0,00          0,00        0,00     738,86
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          48     0,00         0,00      708,62            0,00          0,00         0,00        708,62
          41     0,00         0,00    12.397,28           0,00          0,00         0,00     12.397,28
          41     0,00         0,00      631,51            0,00          0,00         0,00        631,51
          34     0,00         0,00      646,11            0,00          0,00         0,00        646,11
          27     0,00    12.488,05         0,00           0,00          0,00         0,00     12.488,05
          27     0,00       646,12         0,00           0,00          0,00         0,00        646,12
          20     0,00       646,12         0,00           0,00          0,00         0,00        646,12
          13     0,00    12.852,36         0,00           0,00          0,00         0,00     12.852,36
          13     0,00       616,84         0,00           0,00          0,00         0,00        616,84
           6     0,00       603,03         0,00           0,00          0,00         0,00        603,03
                 0,00    27.852,52   26.605,83       26.856,85     25.605,09   397.185,17    504.105,46




Grand totals       0    565.756,38   46.897,68       48.370,33     35.675,91   604.311,44   1.301.011,74
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                    Attachment 4
        Schedule for Fixed Assets
               and Depreciation
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ShiftPixy, Inc.
Reconciliation - Fixed Assets
Accounts 1500-1650

                                                             Balance @
              Description               Dept     Entity
                                                            31/08/2024
Cost:
    1500 Equipment                              SPX-100      1.402.465,86
    1520 Furniture & Fixtures                   SPX-100        613.731,97
    1530 Leasehold Improvements                 SPX-100        668.747,05
    1540 Vehicles                               SPX-100        339.800,00
    1550 Studio Equipment                       SPX-100        252.338,91
    1555 Ghost Kitchen Equipment                SPX-100        970.735,35
    1560 Studio Leasehold Improvements          SPX-100         84.360,04
    1565 ROU- Finance lease                                          0,00
                              Total Cost                     4.332.179,18
                                                   Per GL
                                               Difference

Accumulated Depreciation:
    1600 Equipment                              SPX-100     -1.092.645,71
    1620 Furniture & Fixtures                   SPX-100       -469.590,26
    1630 Leasehold Improvements                 SPX-100       -534.229,37
    1645 Vehicles                               SPX-100       -197.450,04
    1650 Studio Equipment                       SPX-100       -173.442,74
    1655 Ghost Kitchen Equipment                SPX-100       -745.735,47
    1660 Studio Leashold Improvements           SPX-100        -59.871,94
    1665 ROU Asset                              SPX-100              0,00
       Total Accumulated Depreciation                       -3.272.965,53
                                                   Per GL
                                               Difference




                                                 NBV         1.059.213,65
                                                                     -
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ShiftPixy, Inc.
Fixed Asset Schedule


     Date Acquired                      Description                          Cost

EQUIPMENT - 1500
      08/19/16         Monitors for NM offices                                     2.053,25
      08/22/16         Surface pro and accessories for NM office                   5.102,06
      09/30/17         Monitors (2), keyboards and mice                            1.418,40
      01/15/18         Surface pro and accessories for NM office                   3.151,23
      11/05/18         New phones                                                  1.702,43
      02/20/19         New phones                                                  1.346,86
      06/03/19         IPHONE XS Silver 256GB-USA                                  1.126,00
      06/03/19         MacBook Pro, accessories and apple care                     4.415,62
      08/29/19         Microsoft Surface Pro                                       2.680,52
      11/20/15                                                                     1.188,18
      12/29/15         BEST BUY 0000 PURCHASE 12/28 YORBA LINDA CA CARD 2926       1.142,80
      03/22/16         3.18.16 Microsoft mouse and leather cases for newly purchased 647,68
                                                                                       Surface Pros
      03/22/16         Remainder of Microsoft purchase of 7 Surface Pros, 2 monitors
                                                                                   3.174,13
                                                                                      and accessories
      04/15/16         MICROSOFT PURCHASE 04/13 888-838-8660 WA CARD 38816.405,77
      04/18/16         MICROSOFT - 7 COST PURCHASE 04/15 COSTA MESA CA CARD        3.039,52
                                                                                     3881
      04/19/16         sound masking                                             14.720,72
      06/09/16         Microsoft Surface Pro & Accessories, Dell monitor           8.308,38
      06/20/16         Microsoft Surface Pro , Docking Station                     3.752,02
      07/13/16         AT&T Phones                                                 3.872,11
      07/14/16         AT&T Phones                                                 2.118,19
      07/16/16         Microsoft Surface Pro and accessories                     16.148,60
      08/17/16         Video camera                                                1.211,61
      08/22/16         Microsoft surface pro, accessories and software           11.000,00
      09/19/17         Microsoft surface pro, accessories and software           25.986,27
      02/08/18         Conference room Equipment                                   6.921,19
      02/16/18         Computer for Doug Moss                                      3.096,27
      05/18/18         1 Pro 512 GB                                                5.047,87
      05/18/18         Giant iPhone                                              17.591,80
      05/01/18         Cloud                                                     38.100,62
      06/19/18         Microsoft Surface Pro with equipment(2)                     5.299,84
      07/02/18         Microsoft Surface Pro with equipment(3)                     8.736,50
      07/25/18         Installation cloud                                            840,00
      07/26/18         Giant iPhone                                              16.841,80
      09/12/18         3 Surface Pros & Accessories                              10.438,81
      10/16/18         E Studio 5506ACT Color Copier                             23.433,47
      02/06/19         Surface Pro                                                 2.672,63
      03/11/19         Microsoft surface pro, accessories and software             9.415,88
      03/13/19         MacBook Pro, accessories and software                       6.331,76
      03/14/19         MacBook Pros, accessories and software                    12.991,49
      04/10/19         Phone purchase                                              3.178,59
      04/22/19         2 Mac Mini                                                  3.846,68
      06/10/19         MacBook Pro, accessories and apple care                     2.530,23
      06/12/19         MacBook Pro, MacMini, and accessories                       3.758,94
      07/01/19         MacBook Pro, MacMini, Iphone XR and accessories           13.439,41
      07/09/19         Microsoft Surface Pro, accessorie                           3.078,78
      07/18/19         MacBook Pro, accessories and software                       4.005,13
      07/01/19         Cisco Meraki Cloud Controller                               1.453,55
      07/09/19         Cisco Meraki Camera                                       10.856,67
      07/22/19         Sound Masking Speaker                                       3.877,20
      08/19/19         Smart TV                                                    1.220,20
      08/19/19         Smart TV                                                      711,12
      09/05/19         Dome Camera                                                 1.639,99
      09/16/19         Microsoft surface pro, accessories and software             8.957,71
      09/26/19         IPAD                                                          808,98
      10/03/19         10 IPADs                                                    5.256,80
      01/01/20         6 HP Color Laser Printers & Monochrome Printer              4.459,38
      01/31/20         Pressure sealer                                             6.734,38
      02/11/20         Konica Color Copier - Sold 9-13-2023                      41.293,28
      02/13/20         30 Yearlink Phones & Accessories                            5.136,04
      02/19/20         MacBook                                                     3.164,94
      05/29/20         Apple MacBook                                               3.812,13
      06/17/20         Printer Monochrome Laser - Troy MICR M609DN (Serial #CNBCMDH25P)
                                                                                   3.198,89
      06/17/20         Monitor DELL 49" IPS                                        1.573,74
      06/30/20         Microsfot Surface Hub 2s-touch surface - Core I5 (MFG Part:10.988,14
                                                                                   NSG-00001) - Miami
      06/30/20         Microsfot Surface Hub 2s-touch surface - Core I5 (MFG Part:10.988,14
                                                                                   NSG-00001) - Cali
      07/14/20         Surface Pro and Equipment                                 40.227,19
      07/28/20         5 Surface Pros & Accessories                              11.912,41
      08/01/20         Service Agreement on Mft Part #:WJ3-00018/CDW Part No. 3953709
                                                                                   1.219,60
      08/11/20         Microsoft surface pro, accessories and software (qty. 5)  13.774,40
      08/12/20         Cisco Systems Meraki MX250 Cloud Appliance, License & Support
                                                                                 33.409,77
      08/12/20         Cisco Systems Meraki MS210-48LP Cloud, License & Support7.629,77
      08/12/20         Cisco Systems Meraki MR55 Cloud Indoor AP & License         7.704,78
      08/12/20         Cisco Systmes Meraki MV22 Indoor Varifocal Camera & License 5.743,78
      08/18/20         Poly Elara Spakerphone & Teams Edition                        508,80
      09/01/20         Cisco Meraki MV22 Indoor Verifocal Camera (qty. 2)          5.130,69
      09/11/20         IT Equipment for FL                                       60.156,13
      09/14/20         FL Order                                                  15.998,81
      09/12/20         FL - Surace Pros for New Hires                            19.505,14
      09/15/20         Irvine Surface Pros                                       17.951,80
      09/15/20         Irvine Equipment                                            7.288,44
      10/06/20         Monitor for Bob (Attorney)                                    591,10
      10/08/20         Folder/Sealer 5K for FL Office                              6.200,00
      10/13/20         New Apple Macbook and Accessories for Bob (Attorney)        7.751,58



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ShiftPixy, Inc.
Fixed Asset Schedule


     Date Acquired                     Description                          Cost

        10/13/20       Dell Ultrasharp 49" Monitor for DJ (CFO)                     1.305,40
        10/15/30       FL Office - 11 Monitors & Accessories                        6.607,25
        11/02/20       Cisco Meraki with Cloude, MV, and Enterprise License       95.618,00
        11/11/20       Speakers, installation per speaker, power amplifier & Protector
                                                                                  10.229,20
        11/13/20       HDMI Display port and LED Blacklit LCD Monitor               1.372,65
        11/05/20       CDW: FL OFFICES - PHONE COVERS, MOUSE, KEYBOARDS               440,84
        11/05/20       CDW: IRVINE - PHONE COVERS, KEYBOARDS, MOUSE, MONITORS,      1.246,94
                                                                                          MONITOR HEIGHT ADJUSTMENTS
        11/05/20       CDW DIRECT - INV 1C3FGNX                                     1.245,54
        11/05/20       CDW DIRECT - INV 1C3FGR8                                       353,67
        12/07/20       Virus Laser 1580 Watt/4 Wavelength (qty. 4)               100.000,00
        12/17/20       3 Apple Macbooks & accessories                               7.965,00
        01/08/21       2 Phone Booths - HQ                                        47.780,31
        01/08/21       2 Phone Booths - Studio                                    47.780,31
        01/19/21       2 Monitors - Miami                                             864,48
        01/19/21       4 Surface Pros - Miami                                       6.087,56
        01/19/21       OWL - Miami                                                  1.297,69
        01/19/21       4 Surface Pros - Irvine                                      6.087,56
        01/19/21       OWL - Irvine                                                 1.297,69
        01/19/21       4 Monitors - Irvine                                          1.728,96
        01/22/21       Roger - New Mackbook                                         3.472,74
        02/15/21       5 Surface Pro 6, Apple Macbooks 3, & Re-stock Brickless      5.315,20
        02/15/21       Apple Mackbooks 3                                            2.274,44
        02/26/21       2 Large Monitors - Finance                                   2.659,14
        03/01/21        5 SURFACE PRO 7                                             2.048,31
        03/10/21       GAB MONITOR                                                  1.328,55
        04/20/21        2 MACBOOKS                                                  5.671,68
        05/20/21       5 Surface Pros - Miami                                       9.205,50
        05/20/21       1 Macbook - Miami                                            3.691,77
        05/20/21       2 Macbooks - Irvine                                          7.383,54
        05/20/21       4 Surface Pros - Irvine                                      7.364,40
        05/25/21       Marketing Equipment                                          2.577,19
        05/31/21       Display for Marlon                                           3.530,95
        06/15/21       AM WANG NEW COMPUTER                                          3.057,62
        06/15/21       MANNY MONITOR - ACCTING                                       1.304,97
        06/15/21       SUITE 205 SET UP                                            15.813,70
        07/01/21       Audio Set Up - Ste 205                                        8.351,35
        07/01/21       Sonos Zone Set Up - Ste 205                                     160,50
        07/01/21       Audio Set Up - Ste 205                                        2.803,40
        07/01/21       Doug ipad & Accessories                                       1.905,56
        07/07/21       3 Leagl Monitors                                              3.703,02
        07/07/21       Doug ipad & Accessories                                       1.864,50
        07/14/21       Computer- Scott's Home Office                                 3.015,21
        07/19/21       Moving IT TV to Ste 150 Irvine                                4.142,67
        08/04/21       War Room TVs                                                17.280,50
        08/07/21       20 Surface Pro, SRFC Docks, Mouse & Keyboards               64.182,15
        08/19/21       iPad - Doug                                                   1.738,17
        09/01/21       10 SURFACE - SPACS                                          24.941,27
        09/14/21       EQUIPMENT FOR OUR DESIGNERS                                   5.495,00
        09/15/21       MARKETING TOOLS                                               1.219,80
        09/16/21       MARKETING TOOLS                                               1.151,28
        09/23/21       MAC PRODUCTS FOR PRODUCTION TEAM HIRING                     34.357,19
        09/24/21       2 GO PROS - PRODUCTION                                          894,48
        09/30/21       GAMING DESKTOP - DESIGN TEAM                                  3.957,93
        10/05/21       Hard Drive                                                    1.540,71
        10/05/21       Monitors                                                      2.439,58
        10/05/21       Marketing Design Tools                                        2.927,42
        10/05/21       Marketing Monitors                                            2.642,88
        10/05/21       Kitchen Audio                                                 6.200,65
        10/07/21       Surface Pro 7+                                              22.715,73
        10/31/21       MARKETING                                                     1.189,28
        11/04/21       Financial Team Comptuers - upgrade                            8.965,43
        11/09/21       Prototype team Computers                                    10.895,00
        11/10/21       Prototype team Computers                                      1.033,23
        11/11/21       Surface Pro                                                   3.346,31
        11/12/21       Prepping for growth                                         21.631,90
        11/23/21       Docking Stations                                                762,34
        11/29/21       Green Screens                                                 1.250,00
        12/01/21       Meeting Owl Pro                                               2.082,08
        12/17/21       MICROSOFT STEELCASE MOBILE STAND FOR LABS                     1.547,49
        01/01/22                                                                   20.695,65
        01/31/22       30 Surface Docs                                               6.676,55
        01/06/22       equiptment for finace                                           820,28
        04/27/22       Convention Oven                                               1.233,07
        07/01/22       Multiple invoices                                         (35.826,64)
        09/23/22       Bill - FOOD CARTS USA: FOOD TRUCK #1                      298.800,00
        10/07/22       ADDITIONAL OVEN FOR IN LAB USE - Shop installation         16.000,00
        10/17/22       Labs - Walk in cooler                                        9.520,00
       11/02/202       ELECTRICAL WORK - LABS walk-in cooler and freezer            3.100,00
        11/11/22       WALK IN COOLER REPAIRS                                       2.200,00
        11/15/22       FOOD TRUCK ADD ON                                          41.000,00
        11/16/22       CAMERA LENS - LABS                                           1.134,19
        04/14/23       TV, SPEAKER, AMPLIFIER WIRING AND INSTALLATION               4.542,15
        05/01/23       PURCHASE 3 TVS AND AUDIO INSTALLATION                        4.925,21
        08/31/23       Bill - FOOD CARTS USA: FOOD TRUCK #1 - Move to Vehicle(298.800,00)
                                                                                  account
        08/31/23       FOOD TRUCK ADD ON - Move to Vehicle account               (41.000,00)
        09/13/23       Konica Color Copier - Sold 9-13-2023                      (41.293,28)
        06/01/24       Microsoft Surface Studio 2-14.4"-64 GB RAM-2 TB SSD          4.250,41


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ShiftPixy, Inc.
Fixed Asset Schedule


     Date Acquired                           Description                           Cost



                                               GL 1500 - Total Equipment          1.402.465,86




 FURNITURE & FIXTURES - 1520
       12/01/15                                                                         355,32
       12/04/15                                                                       1.492,02
       12/08/15                                                                       1.569,21
       03/30/16         furniture for 1 Venture, Irvine, CA 92618                   91.450,76
       04/04/16         Surface Pros and accessories - limit on debit card. Scott Absher
                                                                                    14.500,00
                                                                                          paid remainder on his personal card
       04/04/16         AT&T cell phones and accessories part 1 of 5                  2.181,54
       04/04/16         AT&T cell phones and accessories part 2 of 5                  1.817,95
       04/04/16         AT&T cell phones and accessories part 3 of 5                  1.817,95
       04/04/16         AT&T cell phones and accessories part 4 of 5                  1.814,35
       04/04/16         AT&T cell phones and accessories part 5 of 5                  2.886,47
       04/29/16         Dell color laser printer                                      1.799,98
       04/29/16         ULINE *SHIP SUPPL PURCHASE 04/29 800-295-5510 IL CARD 1.933,823881
       05/02/16         Surface dock, Monitor and accessories for Annette Bonilla - Sanger,
                                                                                        679,11 CA
       05/02/16         Samsung - Showcase 28.7 cu. ft. Side-by-side refrigerator w/thru
                                                                                      2.394,99
                                                                                           the door Ice and Water - Stainless Steel
       05/02/16         Samsung-Chef Collection 2.1 cu. ft. Over the Range Microwave499,99
                                                                                         Stainless Steel
       05/02/16         Surface Dock, Monitor and accessories for - Karen Chavez in AZ672,80
       05/09/16         replacement microwave that fits spot in kitchen of new offices189,99
       05/09/16         BEST BUY 0000 PURCHASE RETURN 05/08 TUSTIN CA CARD 3881        (524,80)
                                                                                           - microwave to large
       05/10/16         added furniture for new building                            13.362,93
       05/24/16         Storage cabinet, Handtruck, platform deck for handtruck         994,51
       05/26/16         additional blinds for executive suite                         1.990,00
       05/26/16         blinds for the executive suite                                2.638,20
       08/03/16         Desks and benches                                             5.994,52
       08/05/16         Tables, desks and furnitures                                15.641,48
       08/31/16         AJE-11                                                        6.782,00
       08/31/16         AJE-11                                                        1.455,00
       04/19/16         security system for new location 1 Venture, Suite 150, Irvine,
                                                                                    23.624,22
                                                                                       CA 92618
       09/19/16         Misc. office furniture                                        2.780,42
       10/06/16         Misc. office furniture                                        1.881,22
       11/02/17         Office Furniture for Suite 220                              24.740,40
       11/17/17         Office Furniture for Suite 220                                7.335,12
       12/04/17         Media room Build Out                                          3.899,42
       02/01/18         Office Director Operations                                    5.993,42
       02/01/18         Office Chief Technology Officer                               3.291,82
       06/18/18         Office Desk and Installation                                  5.669,98
       07/26/18         Wall Murals                                                   9.491,25
       10/31/18         Office Furniture                                              2.013,66
       04/15/19         chairs                                                        3.280,93
       06/01/19         Platinum & white desks. Box/Files with green cushion.         6.488,64
       06/14/19         IT Room: Platinum & white desks. Box/Files, and electric 3 leg
                                                                                    28.886,10
                                                                                        table.
       06/17/19         Posture fit Stools and task chairs.                           4.129,21
       06/19/19         Frameless glass door                                        10.199,00
       06/19/16         Frameless glass door (x2)                                   22.665,00
       06/03/19         Electririfed Locking Hardware and Idemia Biometric Reader 3.348,23
       08/01/19         Office Furniture                                              1.705,90
       08/25/20         Furniture for Miami FL                                     138.476,93
       10/15/20         FL Office - Miami Office Sign                                 1.517,26
       12/01/20         FL Office - L Desks, Credenzas & devlivery                    5.885,92
       01/05/21         Studio Furniture (Production)                               69.950,37
       03/24/21         STUDIO FURNITURE                                            35.313,66
       09/21/21         2 CABINETS FOR THE LABS                                          809,80
       01/01/22         Container Wraps                                              13.964,00

                                    GL 1520 - Total Furniture and Fixtures          613.731,97
                                                                                             1/

LEASEHOLD IMPROVEMENTS - 1530
       05/31/16     Anderson Security - intrusion access control system               2.139,47
       06/01/16     Frost Film Doors                                                    360,00
       06/02/16     CMD Dummy Cylinder                                                   81,04
       06/09/16     Samsung LED LCD TV and other equipment                            9.217,08
       06/13/16     Anderson Security - intrusion access control system                 825,00
       05/31/16     Lighting and installation                                         8.593,09
       06/22/16     Painting - Spectrum General Contractors                           2.850,00
       07/12/16     Anderson Security - intrusion access control system                 320,00
       03/01/18     Cabling-AV installation-Wifi                                    12.211,09
       08/08/18     Wall surfaces                                                     4.763,50
       09/09/20     FL Office Installation of Security System Equipment               5.400,00
       09/15/20     FL Office Install Cable/Camera                                  10.782,45
       10/15/20     FL Office DGA Security                                            3.105,68
       10/15/20     FL Office - Additional Installation                               1.325,82
       11/13/20     Demo Room Logo                                                    1.379,23
       11/16/20     Runway Painting for Studio Floors FL Office                     68.953,58
       12/08/20     FL Office - Break concrete floor, stall 2 floor drains, sings, & hand
                                                                                      2.500,00
                                                                                          stand pipes
       01/28/21     2 Bathrooms, brick wall and coffee bar build                    29.650,00
       02/17/21     Installation of Door Stops                                        2.156,25
       02/18/21     Suite 203 - Cloud Controller & Enterpirse Licence                 4.521,00
       02/11/21     Brickell Suite 203                                                1.010,00


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ShiftPixy, Inc.
Fixed Asset Schedule


     Date Acquired                        Description                            Cost

        02/16/21         Black Single circuit track                                  2.616,15
        02/17/21         2 additional drops for SPX Labs                             2.278,25
        02/21/21         New large door                                             26.400,00
        02/22/21         Muralas A & B Walls Deposit                                17.000,00
        02/22/21         Murals C Wall                                              13.000,00
        02/23/21         Exterior Logo Painting                                      1.700,00
        03/05/21         EXTRA WORK                                                  5.915,00
        03/06/21         DOCK DOOR WORK                                              2.691,05
        03/08/21         STUDIO DOOR WORK                                            4.450,00
        03/08/21         MAGLOCK                                                     1.215,50
        03/08/21         RACKS AND CABLING                                             374,50
        03/16/21         CABLING AND RACKS TV MOUNT                                    600,42
        04/01/21         HQ Doors work - security key cards                          2.523,33
        05/14/21         Coffee Bar                                                  9.526,18
        05/17/21         Cabling & Racks - Studio Fiber Project                     20.015,80
        05/20/21         New Cameras & New Space                                    11.841,82
        06/02/21         CHANGE ORDER #5 - Gate Mortor & Extras                      10.815,95
        06/10/21         FINAL PAYMENT - STUDIO FLOORS                               20.880,50
        06/16/21         HQ WHITE BOARD WALL PAINTING                                 1.100,00
        06/17/21         HARDWARE - CAMERAS - SUITE 205 BRICKLL - MOVED TO LABS       8.082,00
        06/17/21         SPX SIGN FOR STE 205 - BRICKELL                              1.517,26
        06/17/21         STUDIO WORK                                                  4.800,00
        06/21/21         REPAIR WORK                                                  1.500,00
        06/22/21         WORK IN IRVINE                                               1.155,00
        06/24/21         SUITE 205 PHASE 1                                            8.456,63
        06/25/21         STUDIO PURPLE ROOM BUILD OUT                                40.327,00
        07/07/21         EXTRA WORK                                                     670,00
        07/13/21         STUDIO WORK                                                    670,00
        07/14/21         Studio Gate Replacement                                     11.670,75
        07/14/21                                                                      2.010,00
        07/15/21         Studio Change order Additional Work                          1.856,20
        07/17/21         Electric Work Ste 205                                        1.395,00
        07/19/21         Painting - HQ Ste 201                                        4.045,00
        07/19/21         Painting - HQ Ste 201                                          966,00
        07/27/21         Studio                                                       5.242,00
        07/28/21         Proposal - Studio Additional Work                            1.340,00
        07/29/21         APC UPS Battery Back Up - Studio                               855,45
        07/30/21         Gate Security - SPX Labs                                    19.432,00
        08/06/21         Suite 205 HQ                                                 5.524,80
        08/20/21         Install of 20 Outlets                                        7.800,00
        08/20/21         Electrical Work                                              4.400,00
        09/01/21         ADDITINAL WORK FOR BRICKELL SUITE 205                          589,00
        09/16/21         Studio gate work                                             9.704,12
        09/20/21         Fire Protection                                              1.074,49
        09/20/21         Awning 50%                                                   2.300,00
        09/30/21         Fire Protection                                              2.010,00
        10/01/21         Track Lighting                                               2.293,50
        10/31/21         Taxes for awning (not prev included)                           161,00
        10/31/21         5% increase from 3/18/21 invoice. Supply chain issues        1.090,70
        12/01/21         Change Order #2                                              2.218,00
        12/31/21         TI Allowance Overage                                        68.038,88
        01/21/22         Irvine Door Sensors                                            553,80
        02/18/22         Tinting Windows                                              4.300,93
        02/21/22         Studio cabling                                               3.821,90
        04/01/22         Suite 605 Ntework Set-Up                                    37.181,45
        07/01/22         Studio                                                     (5.242,00)
        08/01/22          MILLWORK STE 650                                          34.637,43
        10/01/22         Sunrise install 50%                                         1.819,00
        10/20/22          3 SINKS FOR GHST KITCHENS                                  2.003,25
        10/25/22         ELECTRICAL WORK LABS - installation of wiring for walk-in cooler and freezer
                                                                                     6.900,00
        11/23/22         GAS SET UP #1 - KITCHENS                                   18.224,74
        03/07/23         Electrical work for Labs - set up double fryer                750,00
        04/01/23         ELECTRICAL FOR GHOST KITCHEN FRYERS                           511,46
        04/01/23         TI ALLOWANCE OVERAGE                                       12.242,01
        05/22/23         GASKETS AND STRIP CURTAIN FOR LOADING DOOR AT LABS 759,57

                              GL 1530 - Total Leasehold Improvements              668.747,05


VEHICLES - 1540
       09/23/22          Bill - FOOD CARTS USA: FOOD TRUCK #1 - 8-31-2023 Adj 298.800,00
       11/15/22          FOOD TRUCK ADD ON - 8-31-2023 Adj                     41.000,00



                                                     GL 1540 - Vehicles           339.800,00

STUDIO EQUIPMENT - 1550
       10/28/20       Studio Equipment                                             74.748,15
       11/02/20       Studio Equipment                                              4.505,00
       11/23/20       Neon Sing for Labs                                            2.621,50
       12/21/20       Design Agreement                                             37.500,00
       12/22/20       CANON 2 Lenses, 2 cards, and lighting kit                     4.580,98
       12/29/20       Lens support & control system                                 2.609,08
       01/04/21       Studio Equipment                                              1.045,03
       01/12/21       Studio Equipment                                              3.236,00



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ShiftPixy, Inc.
Fixed Asset Schedule


     Date Acquired                         Description                    Cost

        01/19/21         Studio - Editing System                              5.826,29
        02/02/21         Tai Audio                                            6.287,17
        02/03/21         B&H Photo Video                                      1.666,00
        02/04/21         Tai Audio                                              513,49
        02/01/21         Docks Doors SPX Labs                                 2.771,78
        02/01/21         Studio Equipment                                     4.519,85
        02/01/21         B&H Photo Video                                      1.748,15
        02/01/21                                                              2.081,26
        03/02/21         Camera Equipment                                     2.040,25
        03/18/21         Outfitting Work Station                             16.375,00
        03/24/21         SET UP TV AND HUB                                   14.866,57
        03/27/21         Microwave                                              349,83
        03/27/21         Refrig & Microwave                                   1.547,52
        04/05/21         LIGHTING - Titan tubes 8 w/ charging case            7.847,39
        04/08/21         Sweeper/ Scrubber                                         -
        04/27/21         Design Agreement - Reversed                        (37.500,00)
        05/11/21         SINEWAVE TOWER - STUDIO                                559,06
        06/03/21         Hardware for 4 Lab Kitchens                          4.699,44
        06/04/21         Pre-owned - 32" TENNANT RIDE-ON SCRUBBER              9.924,25
        06/11/21         B&H Photo Video                                         299,00
        06/19/21         Studio - Set up TV and Hub                               25,75
        06/20/21         Studio Media Storage                                 19.200,00
        07/09/21         LED Softlight w Manual Yoke                          17.294,41
        07/19/21         Office Equipment for Expansion                        8.735,52
        08/03/21         MICROSOFT MOBILE STAND                                    0,00
        08/04/21         1925 -ESTIMATE - Container wraps                    25.680,00
        02/01/22         1925 -ESTIMATE - Container wraps                   (12.680,00)
        04/01/23         Dry Storage Locked Gate - Ghost Kitchens             4.900,00
        04/04/23         Walk-in shelving for Ghost Kitchen Storage          11.915,19

                                      GL 1550 - Total Studio Equipment     252.338,91


GHOST KITCHEN EQUIPMENT - 1555
       03/19/21      Ghost Kitchen Modular Set Up                           288.447,18
       04/23/21      Ghost Kitchen Modular Set Up                           288.452,58
       08/18/21      Ghost Kitchen Modular Set Up                           288.452,58
       08/09/21      ZINE PORECIAIN STOVETOP 48"                               1.760,14
       08/11/21      GHST KITCHEN CONVENTION WALL OVEN                         2.551,94
       08/11/21      walk-in refrigeration - Ghost Kitchen                    25.460,00
       09/30/21      Extra charges to complete kitchens                      171.501,90
       01/31/23      AP adjust - BOXMAN STUDIOS LLC: SETTLEMENT -101.501,90 ARRANGEMENT MADE - CREDIT FOR OUTSTANDIING INVOICE
       03/03/23      BREX-Amazon - Commercial Fryer - Labs                      385,19
       03/08/23      Dishwasher Table                                           704,95
       03/09/23      BREX-Amazon - Ghost Kitchen - 2 Blenders - Labs            511,70
       03/11/23      BREX-Amazon - Ghost Kitchen - Vevor Mobile Fryer - Labs 1.209,09
       06/13/23      Bird Cage - Shelve 60" length - total 60'                2.800,00

                                    GL 1555 - Ghost Kitchen Equipment      970.735,35


STUDIO LEASEHOLD IMPROVEMENTS - 1560
       02/01/21      Studio Setup Fees                                        7.250,00
       02/01/21      Signs for SPX Labs                                      12.044,00
       02/01/21      10 Ceiling Surface Mount kits & 10 Add'l Parts           1.649,97
       02/10/21      Electrical Work - SPX Labs                              13.135,00
       02/21/21      Additional Work                                          1.690,00
       03/08/21      Studio Electric Work                                     1.275,00
       03/17/21      Thunderbolts for 3 Doors                                   269,32
       03/25/21      STUDIO EXTRA WORK                                          319,55
       03/31/21      Concrete Work- Studio                                    7.095,00
       04/01/21      Work on double Doors                                       250,00
       05/13/21      Floor work & polishing at SPX Labs                      20.880,50
       05/13/21      Work on gate & key card entry                            9.866,25
       05/13/21      Studio Card Reader                                       3.420,00
       05/14/21      STUDIO EXTRA WORK - Reversed                              (319,55)
       05/20/21      Studio Security                                          6.892,00
       05/20/21      Studio Security                                         10.687,00
       05/21/21      Signs for SPX Labs - Reversed                          (12.044,00)

                         GL 1560 - Total Studio Leasehold Imporvements      84.360,04


ROU- FINANCE LEASE - 1565

                                    GL 1565 - Total ROU- Finance Lease             -




                                                    Total Fixed Assets:   4.332.179,18




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                    Attachment 5
         Schedule for Trademarks
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                                     Trademarks

                       UNITED STATES – REGISTERED TRADEMARKS

    Mark                Image              Serial Number      Registration Date   Status
                                             88479540           2020-01-14         Live


SHIFTPIXY LABS                               90159815            2022-12-27        Live

                                             88437998            2019-12-31        Live


    ZIPIXY                                   88533774            2020-02-11        Live

  SHIFTPIXY                                  86777367            2016-12-27        Live

  SHIFTPIXY                                  86786929            2016-12-27        Live

SHIFTPIXY LABS                               88437998                             Dead
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                    Attachment 6
 Schedule for Social Media Accounts
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                                 Social Media Accounts


Platform                        Username                     Reach
Facebook                        ShiftPixy                    6,700 Followers
Instagram                       ShiftPixy                    560 Followers
LinkedIn                        ShiftPixy                    2,000 Followers
Twitter                         ShiftPixy                    17,800 Followers
YouTube                         ShiftPixy                    796 Subscribers
TikTok                          ShiftPixy                    34 Followers
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                    Attachment 7
Schedule for Contracts with Vendors for
          Software Platform
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                           Contracts with Vendors for Software Platform

Sendgrid
Twillio
MongoDB
AWS
GitLab
GitHub
HelloSign (Dropbox)
IBM Watson
OpenAI ChatGPT
Humanity
Microsoft - 365, AppCenter, Azure
Okta
Google Play Store
Apple Play Store
Egnyte
DreamHost
Wordpress
EasyDNS
Intacct (Accouting)
Prism
LastPass
Turn and/or Asurint
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                    Attachment 8
   Schedule for Payment to Creditors
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ShiftPixy, Inc.


20/11/2024
Date                Vendor                             Amount


11/10/2024          V-2449--4te Inc                   2.562,00
18/09/2024          V-2449--4te Inc                   2.688,00
30/08/2024          V-2449--4te Inc                   2.688,00
23/08/2024          V-2449--4te Inc                   1.344,00
9/08/2024           V-2449--4te Inc                   3.696,00
2/08/2024           V-2449--4te Inc                   2.688,00
31/08/2024          V-2458--A & A Ornamental, Inc     -2.450,00
28/08/2024          V-2548--AIM Recycling             1.570,62
18/09/2024          V-2568--American Arbitration Association
                                                      2.800,00
27/08/2024          V-2255--AMWINS GROUP BENEFITS8.759,74
1/10/2024           V-1464--AmWINS Specialty Casualty
                                                  20.000,00
                                                      Solutions
23/09/2024          V-1464--AmWINS Specialty Casualty
                                                  12.530,15
                                                      Solutions
28/08/2024          V-1464--AmWINS Specialty Casualty
                                                    5.273,93
                                                      Solutions
27/08/2024          V-1464--AmWINS Specialty Casualty
                                                  43.682,42
                                                      Solutions
27/08/2024          V-1464--AmWINS Specialty Casualty
                                                 -48.956,35
                                                      Solutions
27/08/2024          V-1464--AmWINS Specialty Casualty
                                                  48.956,35
                                                      Solutions
8/10/2024           V-2523--Asurint                     841,80
24/09/2024          V-2523--Asurint                     744,90
9/09/2024           V-2523--Asurint                   1.661,00
23/08/2024          V-2523--Asurint                     628,40
7/08/2024           V-2523--Asurint                   1.048,70
11/09/2024          V-1007--At&T                      3.154,83
27/08/2024          V-1007--At&T                     17.346,10
20/08/2024          V-1007--At&T                      8.635,51
13/08/2024          V-1007--At&T                      3.106,54
23/08/2024          V-1989--BAILEY STOCK HARMON COTTAM
                                                 5.000,00
                                                        LOPEZ LLP
16/09/2024          V-1916--BairesDev LLC            75.000,00
27/08/2024          V-1916--BairesDev LLC            75.000,00
1/10/2024           V-2155--BAKER TILLY US, LLP      -11.000,00
1/10/2024           V-2155--BAKER TILLY US, LLP      11.000,00
1/10/2024           V-2155--BAKER TILLY US, LLP      11.000,00
27/08/2024          V-2155--BAKER TILLY US, LLP      40.202,75
27/08/2024          V-2503--Bentley Goodrich Kison      530,56
3/09/2024           V-2572--Bogin Munns & Munns      10.000,00
15/10/2024          V-1986--BREX CC                  35.000,00
19/09/2024          V-1986--BREX CC                  52.176,62
14/08/2024          V-1986--BREX CC                  44.905,14
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19/09/2024     V-2285--BREX GHOST KITCHEN         3.419,48
14/08/2024     V-2285--BREX GHOST KITCHEN         3.574,25
1/10/2024      V-2576--Brickell Key Centre LLC   25.000,00
4/09/2024      V-2576--Brickell Key Centre LLC   25.000,00
5/08/2024      V-2576--Brickell Key Centre LLC   25.000,00
27/08/2024     V-1543--Broadridge ICS            11.232,21
28/08/2024     V-2573--BTERREL GROUP              1.210,00
15/10/2024     V-2460--Business Credit Reports, Inc     5,00
28/08/2024     V-2460--Business Credit Reports, Inc 64,75
23/08/2024     V-2460--Business Credit Reports, Inc -64,46
23/08/2024     V-2460--Business Credit Reports, Inc 64,46
28/08/2024     V-1529--CA Dept of Tax and Fee Admin
                                                1.845,46
29/08/2024     V-2424--Call & Jensen             60.000,00
28/08/2024     V-2581--Carmencita Interpreting, LLC250,00
30/08/2024     V-1985--Christopher A Sebes       33.000,00
23/09/2024     V-1282--Colorado Department of Revenue
                                                  74,19
16/10/2024     V-2071--COMCAST BUSINESS               564,46
28/08/2024     V-2047--DGA SECURITY               1.020,30
4/09/2024      V-2553--Donohoe Advisory Assoc LLC
                                              20.000,00
29/08/2024     V-2553--Donohoe Advisory Assoc LLC
                                               2.800,00
17/09/2024     V-2545--Doug Greene                     13,20
21/08/2024     V-2545--Doug Greene                      2,06
7/08/2024      V-2532--Empire Marketing Ventures
                                              10.000,00
                                                 LLC
12/09/2024     V-2439--Enlyte                         187,00
1/10/2024      V-1410--Everest National Insurance
                                                20.000,00
                                                  Co
3/09/2024      V-1410--Everest National Insurance
                                                20.000,00
                                                  Co
27/08/2024     V-1410--Everest National Insurance
                                                20.000,00
                                                  Co
21/08/2024     V-1148--FINRA                          750,00
10/10/2024     V-2123--FLORIDA POWER AND LIGHT
                                            2.964,27
28/08/2024     V-2123--FLORIDA POWER AND LIGHT
                                            3.153,80
14/08/2024     V-2123--FLORIDA POWER AND LIGHT
                                            2.142,00
6/08/2024      V-2123--FLORIDA POWER AND LIGHT
                                            2.749,22
8/10/2024      V-2574--Forstmann & Co            16.465,00
30/08/2024     V-2479--GitHub                         665,00
27/08/2024     V-2381--GUMMICUBE, INC             8.000,00
27/08/2024     V-2283--HYBRID FINANCIAL LTD 30.000,00
12/09/2024     V-1056--Intacct                    5.000,00
27/08/2024     V-1056--Intacct                   18.500,00
27/09/2024     V-2266--JOBOT, LLC                 2.922,07
28/08/2024     V-2266--JOBOT, LLC                 2.922,07
17/09/2024     V-2519--Judith Simpson                  62,56
21/08/2024     V-2519--Judith Simpson                  51,38
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30/08/2024     V-1836--KARLINSKY LLC              30.000,00
31/08/2024     V-2022--Lanza & Smith              -11.945,39
8/10/2024      V-1101--LexisNexis                  1.785,00
18/09/2024     V-1275--Lighthouse Services, Inc      618,13
19/08/2024     V-1471--Marcum & Kliegman LLP 20.000,00
17/09/2024     V-2528--Marcy Herrera                 217,50
21/08/2024     V-2528--Marcy Herrera                  39,75
5/09/2024      V-2450--Marlins Baseball            -1.170,00
5/09/2024      V-2450--Marlins Baseball            1.170,00
30/08/2024     V-2539--Martin Scott               37.500,00
30/08/2024     V-2547--Meadows Collier Attorney17.243,81
                                                At Law
10/10/2024     V-1221--MetLife Group Benefits      3.384,06
27/08/2024     V-1221--MetLife Group Benefits      7.059,46
16/08/2024     V-1221--MetLife Group Benefits      6.654,60
31/08/2024     V-2301--Miami-Dade Tax Collector       -60,75
29/08/2024     V-2301--Miami-Dade Tax Collector      187,50
31/08/2024     V-2206--MILNER - USAGE               -105,07
11/09/2024     V-2091--MILNER INC                  1.333,92
29/08/2024     V-2270--MILNER INC - BRICKELL       4.012,48
29/08/2024     V-2270--MILNER INC - BRICKELL       2.176,76
3/09/2024      V-1408--Nasdaq Corporate Solutions,
                                               20.000,00
                                                   LLC
27/08/2024     V-1408--Nasdaq Corporate Solutions,
                                               20.665,75
                                                   LLC
11/10/2024     V-1930--NATPAY                        119,08
4/10/2024      V-1930--NATPAY                         66,22
20/09/2024     V-1930--NATPAY                        101,67
20/09/2024     V-1930--NATPAY                         27,54
13/09/2024     V-1930--NATPAY                         98,67
6/09/2024      V-1930--NATPAY                         48,07
30/08/2024     V-1930--NATPAY                         56,99
23/08/2024     V-1930--NATPAY                         71,67
16/08/2024     V-1930--NATPAY                         49,15
9/08/2024      V-1930--NATPAY                         96,91
2/08/2024      V-1930--NATPAY                         47,84
6/09/2024      V-2566--Nelson Mullins Riley & Scarborough
                                                21.547,00 LLP
25/09/2024     V-2516--New Benefits                  494,74
23/08/2024     V-2516--New Benefits                  494,74
29/08/2024     V-2536--NYS Unemployment Insurance
                                               419,17
29/08/2024     V-2451--Payne & Fears LLP          34.241,70
30/08/2024     V-2379--Philadelphia Ins Co        10.740,07
29/08/2024     V-2584--Pillsbury Winthrop Shaw Pittman
                                               25.000,00
                                                       LLP
27/09/2024     V-1167--Pitney Bowes                  200,00
25/09/2024     V-1167--Pitney Bowes                  500,00
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11/09/2024     V-1167--Pitney Bowes               160,71
3/09/2024      V-1167--Pitney Bowes               239,41
1/08/2024      V-1167--Pitney Bowes               481,74
2/10/2024      V-2170--PREMIER WORKSPACES         820,00
3/09/2024      V-2170--PREMIER WORKSPACES         820,00
2/08/2024      V-2170--PREMIER WORKSPACES         820,00
12/09/2024     V-1242--PrismHR                    248,36
27/08/2024     V-1242--PrismHR                  43.682,42
6/08/2024      V-1242--PrismHR                  21.903,30
28/08/2024     V-2582--QB Animation Inc          5.200,00
15/10/2024     V-2535--Rose, Snyder & Jacobs LLP
                                               20.000,00
26/09/2024     V-2535--Rose, Snyder & Jacobs LLP
                                               35.000,00
9/09/2024      V-2535--Rose, Snyder & Jacobs LLP
                                               15.000,00
27/08/2024     V-2535--Rose, Snyder & Jacobs LLP
                                               60.000,00
15/10/2024     V-2070--RUNWAY 1 LLC             19.000,00
23/09/2024     V-2070--RUNWAY 1 LLC             18.101,79
12/09/2024     V-2070--RUNWAY 1 LLC             19.000,00
27/08/2024     V-2070--RUNWAY 1 LLC             18.101,79
16/08/2024     V-2070--RUNWAY 1 LLC             19.000,00
29/07/2024     V-2070--RUNWAY 1 LLC             18.501,79
31/08/2024     V-2191--SAY COMMUNICATIONS LLC -18,75
19/08/2024     V-1539--Securities and Exchange Commission
                                                 800,00
5/09/2024      V-2274--SICHENZIA ROSS FERENCE
                                           15.000,00
                                              LLP
29/08/2024     V-2274--SICHENZIA ROSS FERENCE
                                            8.500,00
                                              LLP
19/09/2024     V-1214--Slavic 401K               2.124,81
4/09/2024      V-1214--Slavic 401K               1.475,95
26/08/2024     V-1214--Slavic 401K               2.122,43
6/08/2024      V-1214--Slavic 401K               1.918,44
26/08/2024     V-1412--Staff Benefits Management,
                                                5.914,76
                                                  Inc
26/08/2024     V-1412--Staff Benefits Management,
                                                6.193,84
                                                  Inc
26/08/2024     V-1412--Staff Benefits Management,
                                                5.388,84
                                                  Inc
5/09/2024      V-2292--STERICYCLE                 159,30
5/09/2024      V-2292--STERICYCLE                 269,51
5/09/2024      V-2292--STERICYCLE                 156,65
5/09/2024      V-2292--STERICYCLE                 148,88
31/08/2024     V-1753--SullivanCurtisMonroe Ins Serv
                                                -2.878,32
                                                     LLC
31/08/2024     V-1753--SullivanCurtisMonroe Ins Serv
                                                -1.776,44
                                                     LLC
31/08/2024     V-1753--SullivanCurtisMonroe Ins Serv
                                                -5.435,36
                                                     LLC
3/09/2024      V-1596--SUNZ INSURANCE           75.000,00
28/08/2024     V-1596--SUNZ INSURANCE           75.000,00
14/08/2024     V-2583--Traliant Operating LLC      45,00
5/09/2024      V-2524--Trenan Law               25.000,00
             Case 24-21209-LMI         Doc 80     Filed 11/22/24   Page 111 of 123



31/08/2024     V-2149--TRUSAIC                -1.500,00
31/08/2024     V-1946--TURN TECHNOLOGIES      -1.099,30
27/09/2024     V-2254--UNITED HEALTHCARE      36.135,56
28/08/2024     V-2254--UNITED HEALTHCARE      39.677,97
15/08/2024     V-2254--UNITED HEALTHCARE      35.470,45
28/08/2024     V-2395--USI Insurance Services LLC
                                               21.798,64
27/08/2024     V-2395--USI Insurance Services LLC
                                              146.464,32
2/10/2024      V-1351--VStock Transfer, LLC     3.982,00
23/08/2024     V-1351--VStock Transfer, LLC      374,00
30/08/2024     V-1439--Whitney White          38.750,00
                                          1.980.858,67
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                    Attachment 9
   Schedule for Payments to Insiders
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Employee Name - ID          Pay Date     Net Pay
ABSHER ANDREW - P45231      09/05/2024        341,86
ABSHER ANDREW - P45231      09/20/2024      1659,24
ABSHER ANDREW - P45231      10/04/2024      1659,22
ABSHER ANDREW - P45231      10/18/2024      1659,23
ABSHER CONNIE L - K21611    11/03/2023        1730,5
ABSHER CONNIE L - K21611    11/20/2023      1730,57
ABSHER CONNIE L - K21611    12/05/2023      3462,13
ABSHER CONNIE L - K21611    12/20/2023      1729,84
ABSHER CONNIE L - K21611    01/05/2024      1730,92
ABSHER CONNIE L - K21611    01/19/2024      1729,65
ABSHER CONNIE L - K21611    02/05/2024      1729,52
ABSHER CONNIE L - K21611    02/20/2024             0
ABSHER CONNIE L - K21611    03/05/2024             0
ABSHER CONNIE L - K21611    03/20/2024      3457,51
ABSHER CONNIE L - K21611    04/05/2024      3461,07
ABSHER CONNIE L - K21611    04/19/2024      3461,21
ABSHER CONNIE L - K21611    05/03/2024      3461,21
ABSHER CONNIE L - K21611    05/20/2024             0
ABSHER CONNIE L - K21611    05/22/2024      1731,56
ABSHER CONNIE L - K21611    06/05/2024        1727,6
ABSHER CONNIE L - K21611    06/20/2024             0
ABSHER CONNIE L - K21611    07/05/2024             0
ABSHER CONNIE L - K21611    07/19/2024             0
ABSHER CONNIE L - K21611    08/05/2024             0
ABSHER CONNIE L - K21611    08/20/2024             0
ABSHER CONNIE L - K21611    08/28/2024      3463,13
ABSHER CONNIE L - K21611    09/05/2024      3451,37
ABSHER CONNIE L - K21611    09/20/2024             0
ABSHER CONNIE L - K21611    10/04/2024             0
ABSHER CONNIE L - K21611    10/18/2024             0
ABSHER JASON M - M35101     11/03/2023      3824,68
ABSHER JASON M - M35101     11/20/2023      3824,72
ABSHER JASON M - M35101     11/20/2023           8,1
ABSHER JASON M - M35101     12/05/2023      3824,72
ABSHER JASON M - M35101     12/20/2023      3824,09
ABSHER JASON M - M35101     12/20/2023         44,08
ABSHER JASON M - M35101     01/05/2024        3847,7
ABSHER JASON M - M35101     01/19/2024      3847,13
ABSHER JASON M - M35101     01/19/2024         23,17
ABSHER JASON M - M35101     02/05/2024      3847,06
ABSHER JASON M - M35101     02/20/2024      3847,12
ABSHER JASON M - M35101     02/20/2024        190,41
ABSHER JASON M - M35101     03/05/2024      3847,17
ABSHER JASON M - M35101     03/20/2024      3847,12
ABSHER JASON M - M35101     03/20/2024         58,25
ABSHER JASON M - M35101     04/05/2024      3847,07
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ABSHER JASON M - M35101    04/19/2024       3847,13
ABSHER JASON M - M35101    04/19/2024         81,98
ABSHER JASON M - M35101    05/03/2024       3847,12
ABSHER JASON M - M35101    05/20/2024       3847,13
ABSHER JASON M - M35101    05/20/2024        133,57
ABSHER JASON M - M35101    06/05/2024       3847,07
ABSHER JASON M - M35101    06/20/2024       3847,12
ABSHER JASON M - M35101    06/20/2024         71,65
ABSHER JASON M - M35101    07/05/2024          3355
ABSHER JASON M - M35101    07/19/2024       3852,52
ABSHER JASON M - M35101    08/05/2024       3852,47
ABSHER JASON M - M35101    08/20/2024       3852,52
ABSHER JASON M - M35101    09/05/2024       3852,47
ABSHER JASON M - M35101    09/20/2024       3852,52
ABSHER JASON M - M35101    09/20/2024         93,16
ABSHER JASON M - M35101    10/04/2024       3852,52
ABSHER JASON M - M35101    10/18/2024       3852,52
ABSHER JASON M - M35101    10/18/2024        195,18
ABSHER SCOTT W - M00973    11/03/2023       14934,4
ABSHER SCOTT W - M00973    11/20/2023      15240,72
ABSHER SCOTT W - M00973    12/05/2023      30490,81
ABSHER SCOTT W - M00973    12/20/2023      14933,64
ABSHER SCOTT W - M00973    01/05/2024      14123,76
ABSHER SCOTT W - M00973    01/19/2024      14121,25
ABSHER SCOTT W - M00973    02/05/2024        14121
ABSHER SCOTT W - M00973    02/20/2024             0
ABSHER SCOTT W - M00973    03/05/2024             0
ABSHER SCOTT W - M00973    03/20/2024      27652,02
ABSHER SCOTT W - M00973    04/05/2024        28833
ABSHER SCOTT W - M00973    04/19/2024      28833,25
ABSHER SCOTT W - M00973    05/03/2024      28915,52
ABSHER SCOTT W - M00973    05/20/2024             0
ABSHER SCOTT W - M00973    05/22/2024      15073,28
ABSHER SCOTT W - M00973    06/05/2024      15066,26
ABSHER SCOTT W - M00973    06/20/2024             0
ABSHER SCOTT W - M00973    07/05/2024             0
ABSHER SCOTT W - M00973    07/19/2024             0
ABSHER SCOTT W - M00973    08/05/2024             0
ABSHER SCOTT W - M00973    08/20/2024             0
ABSHER SCOTT W - M00973    08/28/2024      27837,42
ABSHER SCOTT W - M00973    09/05/2024      30441,97
ABSHER SCOTT W - M00973    09/20/2024             0
ABSHER SCOTT W - M00973    10/04/2024             0
ABSHER SCOTT W - M00973    10/18/2024             0
BECK DOUGLAS J - W42549    11/03/2023        6145,5
BECK DOUGLAS J - W42549    11/20/2023       6517,68
BECK DOUGLAS J - W42549    12/05/2023       6146,53
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BECK DOUGLAS J - W42549       12/20/2023     6365,08
BECK DOUGLAS J - W42549       01/05/2024     6530,14
BECK DOUGLAS J - W42549       01/19/2024     6518,24
BECK DOUGLAS J - W42549       02/05/2024     6517,07
BECK DOUGLAS J - W42549       02/20/2024     6518,24
BECK DOUGLAS J - W42549       03/05/2024     6550,23
BECK DOUGLAS J - W42549       03/07/2024     2242,46
BECK DOUGLAS J - W42549       04/19/2024     6727,73
EASTVOLD ELIZABETH - V21620   11/03/2023     1765,45
EASTVOLD ELIZABETH - V21620   11/20/2023     1554,78
EASTVOLD ELIZABETH - V21620   12/05/2023     1763,51
EASTVOLD ELIZABETH - V21620   12/20/2023     1629,59
EASTVOLD ELIZABETH - V21620   01/05/2024     1800,38
EASTVOLD ELIZABETH - V21620   01/19/2024     1887,27
EASTVOLD ELIZABETH - V21620   02/05/2024     1887,25
EASTVOLD ELIZABETH - V21620   02/20/2024     1554,94
EASTVOLD ELIZABETH - V21620   03/05/2024           0
EASTVOLD ELIZABETH - V21620   03/20/2024     1528,29
EASTVOLD ELIZABETH - V21620   04/05/2024     1595,33
EASTVOLD ELIZABETH - V21620   04/05/2024     1437,33
EASTVOLD ELIZABETH - V21620   04/05/2024     1856,26
EASTVOLD ELIZABETH - V21620   04/19/2024     1591,44
EASTVOLD ELIZABETH - V21620   05/03/2024      1741,3
EASTVOLD ELIZABETH - V21620   05/20/2024     1607,49
EASTVOLD ELIZABETH - V21620   06/05/2024     1723,04
EASTVOLD ELIZABETH - V21620   06/20/2024           0
EASTVOLD ELIZABETH - V21620   07/05/2024           0
EASTVOLD ELIZABETH - V21620   07/19/2024     1737,14
EASTVOLD ELIZABETH - V21620   08/05/2024           0
EASTVOLD ELIZABETH - V21620   08/20/2024           0
EASTVOLD ELIZABETH - V21620   08/28/2024     1522,49
EASTVOLD ELIZABETH - V21620   09/05/2024     1591,13
EASTVOLD ELIZABETH - V21620   09/20/2024     1650,07
EASTVOLD ELIZABETH - V21620   10/04/2024           0
EASTVOLD ELIZABETH - V21620   10/18/2024     1686,41
EASTVOLD PHILIP A - J33130    11/03/2023     6758,83
EASTVOLD PHILIP A - J33130    11/20/2023     7374,94
EASTVOLD PHILIP A - J33130    12/05/2023      6959,8
EASTVOLD PHILIP A - J33130    12/20/2023     6958,51
EASTVOLD PHILIP A - J33130    01/05/2024     6484,16
EASTVOLD PHILIP A - J33130    01/19/2024      6482,7
EASTVOLD PHILIP A - J33130    02/05/2024     6482,55
EASTVOLD PHILIP A - J33130    02/20/2024     6482,69
EASTVOLD PHILIP A - J33130    03/05/2024           0
EASTVOLD PHILIP A - J33130    03/20/2024     5715,16
EASTVOLD PHILIP A - J33130    04/05/2024     6482,56
EASTVOLD PHILIP A - J33130    04/05/2024     7250,38
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EASTVOLD PHILIP A - J33130   04/05/2024      7250,38
EASTVOLD PHILIP A - J33130   04/19/2024      4663,25
EASTVOLD PHILIP A - J33130   05/03/2024      6482,71
EASTVOLD PHILIP A - J33130   05/20/2024      6482,69
EASTVOLD PHILIP A - J33130   06/05/2024      6482,55
EASTVOLD PHILIP A - J33130   06/20/2024            0
EASTVOLD PHILIP A - J33130   07/05/2024            0
EASTVOLD PHILIP A - J33130   07/19/2024      1175,47
EASTVOLD PHILIP A - J33130   08/05/2024            0
EASTVOLD PHILIP A - J33130   08/20/2024            0
EASTVOLD PHILIP A - J33130   08/28/2024      6643,91
EASTVOLD PHILIP A - J33130   09/05/2024      6435,43
EASTVOLD PHILIP A - J33130   09/20/2024      5227,16
EASTVOLD PHILIP A - J33130   10/04/2024            0
EASTVOLD PHILIP A - J33130   10/18/2024      6437,92
LAUNAY PATRICE - Y44735      03/20/2024      6018,69
LAUNAY PATRICE - Y44735      04/05/2024      8963,11
LAUNAY PATRICE - Y44735      04/19/2024      8959,92
LAUNAY PATRICE - Y44735      05/03/2024      8959,93
LAUNAY PATRICE - Y44735      05/20/2024      8959,92
LAUNAY PATRICE - Y44735      06/05/2024      8959,61
LAUNAY PATRICE - Y44735      06/20/2024      8959,93
LAUNAY PATRICE - Y44735      07/05/2024            0
LAUNAY PATRICE - Y44735      07/19/2024            0
LAUNAY PATRICE - Y44735      08/05/2024            0
LAUNAY PATRICE - Y44735      08/20/2024            0
LAUNAY PATRICE - Y44735      08/28/2024      8964,69
LAUNAY PATRICE - Y44735      09/05/2024      8940,22
LAUNAY PATRICE - Y44735      09/20/2024      8959,93
LAUNAY PATRICE - Y44735      10/04/2024      8959,93
LAUNAY PATRICE - Y44735      10/18/2024      9046,07
MAY DAVID G - G00799         11/03/2023      4290,85
MAY DAVID G - G00799         11/20/2023      4672,51
MAY DAVID G - G00799         11/20/2023       151,83
MAY DAVID G - G00799         12/05/2023      4290,98
MAY DAVID G - G00799         12/20/2023      4289,38
MAY DAVID G - G00799         12/20/2023       147,94
MAY DAVID G - G00799         01/05/2024      4325,73
MAY DAVID G - G00799         01/19/2024      4324,77
MAY DAVID G - G00799         01/19/2024       197,87
MAY DAVID G - G00799         02/05/2024      4324,66
MAY DAVID G - G00799         02/20/2024      4324,76
MAY DAVID G - G00799         02/20/2024       147,24
MAY DAVID G - G00799         03/05/2024      4324,85
MAY DAVID G - G00799         03/20/2024      4324,75
MAY DAVID G - G00799         03/20/2024       150,85
MAY DAVID G - G00799         04/05/2024      4324,67
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MAY DAVID G - G00799       04/19/2024        4324,75
MAY DAVID G - G00799       04/19/2024          83,67
MAY DAVID G - G00799       04/19/2024        5218,61
MAY DAVID G - G00799       04/19/2024         5218,6
MAY DAVID G - G00799       05/03/2024        4324,75
MAY DAVID G - G00799       05/20/2024        4324,77
MAY DAVID G - G00799       05/20/2024        3542,37
MAY DAVID G - G00799       06/05/2024        4324,68
MAY DAVID G - G00799       06/20/2024              0
MAY DAVID G - G00799       07/05/2024              0
MAY DAVID G - G00799       07/19/2024              0
MAY DAVID G - G00799       08/05/2024              0
MAY DAVID G - G00799       08/20/2024              0
MAY DAVID G - G00799       08/28/2024        4326,21
MAY DAVID G - G00799       08/28/2024          21,58
MAY DAVID G - G00799       09/05/2024        4268,65
MAY DAVID G - G00799       09/20/2024        4276,13
MAY DAVID G - G00799       09/20/2024          23,28
MAY DAVID G - G00799       10/04/2024              0
MAY DAVID G - G00799       10/18/2024        4274,66
MAY DAVID G - G00799       10/18/2024          51,18
MURPHY AMANDA T - L00972   11/03/2023        7462,17
MURPHY AMANDA T - L00972   11/20/2023        7798,67
MURPHY AMANDA T - L00972   12/05/2023        7458,91
MURPHY AMANDA T - L00972   12/20/2023        7457,09
MURPHY AMANDA T - L00972   01/05/2024        6200,07
MURPHY AMANDA T - L00972   01/19/2024        6197,56
MURPHY AMANDA T - L00972   02/05/2024         6197,3
MURPHY AMANDA T - L00972   02/20/2024        6197,56
MURPHY AMANDA T - L00972   03/05/2024       19601,71
MURPHY AMANDA T - L00972   03/05/2024         6197,8
MURPHY AMANDA T - L00972   03/05/2024      -19601,71
MURPHY AMANDA T - L00972   03/07/2024        2255,09
WOODS HANNAH - L21612      11/03/2023        2639,62
WOODS HANNAH - L21612      11/20/2023        2639,66
WOODS HANNAH - L21612      12/05/2023        2639,66
WOODS HANNAH - L21612      12/20/2023        2639,35
WOODS HANNAH - L21612      01/05/2024         2657,4
WOODS HANNAH - L21612      01/19/2024        2657,13
WOODS HANNAH - L21612      02/05/2024        2657,11
WOODS HANNAH - L21612      02/20/2024        2657,13
WOODS HANNAH - L21612      03/05/2024        2657,16
WOODS HANNAH - L21612      03/20/2024        2657,13
WOODS HANNAH - L21612      04/05/2024         2657,1
WOODS HANNAH - L21612      04/19/2024        2657,14
WOODS HANNAH - L21612      04/19/2024        2665,77
WOODS HANNAH - L21612      04/19/2024        2665,77
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WOODS HANNAH - L21612     05/03/2024      2687,73
WOODS HANNAH - L21612     05/20/2024      2657,14
WOODS HANNAH - L21612     06/05/2024       2657,1
WOODS HANNAH - L21612     06/20/2024            0
WOODS HANNAH - L21612     07/05/2024            0
WOODS HANNAH - L21612     07/19/2024            0
WOODS HANNAH - L21612     08/05/2024            0
WOODS HANNAH - L21612     08/20/2024            0
WOODS HANNAH - L21612     08/28/2024      2657,54
WOODS HANNAH - L21612     09/05/2024      2642,24
WOODS HANNAH - L21612     09/20/2024      2644,36
WOODS HANNAH - L21612     10/04/2024      2644,35
WOODS HANNAH - L21612     10/18/2024      2644,35
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Shiftpixy Inc
Insider Payments - Directors
Oct 29, 2023 through Oct 28, 2024



        Martin Scott                               52.500,00

        Christopher Sebes                          51.000,00

        Whitney White                              54.250,00

        Kenneth Weaver                                   -

        TOTAL                                     157.750,00
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Company name:                           ShiftPixy, Inc.
Report name:                            Check register
Created on:                             20/11/2024
Bank                                    Date                        Vendor                 Document no.     Amount
SPX Operating 9208 - Wells Fargo        Account no: 1139789208
                                        30/08/2024                  V-2539--Martin Scott                  37.500,00
                                        5/04/2024                   V-2539--Martin Scott                  15.000,00
Total for SPX Operating 9208                                                                              52.500,00
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Company name:                           ShiftPixy, Inc.
Report name:                            Check register
Created on:                             20/11/2024
Bank                                    Date                        Vendor                        Document no.     Amount
SPX Operating 9208 - Wells Fargo        Account no: 1139789208
                                        30/08/2024                  V-1985--Christopher A Sebes                  33.000,00
                                        5/04/2024                   V-1985--Christopher A Sebes                  18.000,00
Total for SPX Operating 9208                                                                                     51.000,00
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Company name:                           ShiftPixy, Inc.
Report name:                            Check register
Created on:                             20/11/2024
Bank                                    Date                        Vendor                  Document no.     Amount
SPX Operating 9208 - Wells Fargo        Account no: 1139789208
                                        30/08/2024                  V-1439--Whitney White                  38.750,00
                                        5/04/2024                   V-1439--Whitney White                  15.500,00
Total for SPX Operating 9208                                                                               54.250,00
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Company name:     ShiftPixy, Inc.
Report name:      Check register
Created on:       20/11/2024
Bank              Date                 Vendor   Document no.   Amount
  No data found
